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                               UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                   SAN FRANCISCO DIVISION


ANGEL DE JESUS ZEPEDA RIVAS, et al.,           ) CASE NO. 3:20-cv-02731-VC
                                               )
        Plaintiffs,                            )
                                               ) NOTICE OF JOINT MOTION AND JOINT
   v.                                          ) MOTION TO VACATE ORDERS
                                               )
DAVID JENNINGS, et al.,                        )
                                               )
        Defendants.                            )
                                               )
                                               )
                                               )




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                                          NOTICE OF MOTION

         PLEASE TAKE NOTICE that on March 3, 2022, at 2:00 p.m., before the Honorable Vince

Chhabria of the United States District Court for the Northern District of California, the Parties will

jointly move the Court, pursuant to Federal Rules of Civil Procedure 54(b), to vacate its preliminary

injunction orders issued on June 9, 2020 and December 3, 2020 (ECF Nos. 357 & 867) upon the Court’s

final approval of a settlement agreement reached between the Parties through the Ninth Circuit

Mediation Program. This motion is supported by the following Memorandum of Points and Authorities.

                                 STATEMENT OF RELIEF REQUESTED

         Pursuant to Federal Rules of Civil Procedure 54(b), Plaintiffs and Defendants (collectively “the

Parties”) respectfully request the Court to vacate its preliminary injunction orders issued on June 9, 2020

and December 3, 2020 (ECF Nos. 357 & 867) at such time as the Court grants final approval to the

settlement of this matter, because the Parties have reached a settlement agreement to resolve this matter

in a manner that is fair and reasonable to Plaintiffs and the provisionally certified class and that avoids

the hardship of costly and uncertain appeals. The Parties respectfully request that the Court indicate its

decision on this motion at the time the Court rules on the accompanying motion for preliminary approval

of the class settlement but that the Court also make clear that it will only enter an order vacating the

preliminary injunction orders upon final approval of the settlement.

                           MEMORANDUM OF POINTS AND AUTHORITIES

I.       STATEMENT OF THE ISSUES

         Whether this Court should vacate its preliminary injunction decisions because the Parties have

reached a settlement agreement in this case that is fair and reasonable to Plaintiffs and the provisionally

certified class and that is expressly made contingent on the Court signing the attached proposed vacatur

order.

II.      STATEMENT OF FACTS AND PROCEDURAL HISTORY

         On April 20, 2020, Plaintiffs filed this action, challenging, among other things, the conditions of

confinement at two ICE detention facilities, Mesa Verde Detention Facility and Yuba County Jail, with

respect to the COVID-19 pandemic. ECF No. 1. This Court issued preliminary injunctions on June 9,


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2020 and December 3, 2020 requiring Defendants to take various measures related to COVID-19. See

ECF Nos. 357, 867.

       On June 29, 2020, and February 1, 2021, Defendants filed notices of appeal of the Court’s

preliminary injunctions of June 9, 2020 and December 3, 2020, respectively. ECF Nos. 411, 1000,

1002. Oral argument was heard in the Ninth Circuit on Defendants’ appeal of the first preliminary

injunction on February 8, 2021. On or about March 2, 2021, the Parties began discussing the possibility

of settlement with the assistance of the Ninth Circuit Mediator. 9th Cir. ECF No. 78. With the

assistance of the Circuit Mediator, the Parties have reached a negotiated settlement of the entire action,

including all appeals. As set forth in the accompanying motion for preliminary settlement approval, the

settlement disposes of all issues in the litigation. Although the parties have agreed that the preliminary

injunction orders of June 9, 2020, and December 3, 2020 (ECF Nos. 357 & 867) will continue in effect

until the final approval of the proposed settlement, the settlement is expressly conditioned on the vacatur

by the District Court of those orders upon final approval of the settlement. Vacatur is of particular

importance to Federal Defendants, in order to vacate findings that they otherwise would have

strenuously contested on the appeals they are voluntarily dismissing pursuant to the proposed class

settlement agreement. Federal Defendants have made clear that they will not agree to the proposed

settlement unless vacatur is granted, and Plaintiffs have agreed to this condition in order to secure the

significant benefits of the proposed settlement.

       In order to obtain the vacatur order that is a necessary condition of the settlement, the Parties

bring the present joint motion for vacatur of the preliminary injunction decisions upon final approval of

the settlement agreement. The parties respectfully request that the Court issue a decision on this motion

in conjunction with the accompanying motion for preliminary approval of the class settlement but only

issue the vacatur order if and when the Court issues a final approval of the settlement, following a

fairness hearing.

III.   ARGUMENT

       A.      A District Court May Vacate Preliminary Injunctions If a Balancing of the Equities
               Supports the Request.

       Federal Rule of Civil Procedure 54(b) states that “any order or other decision, however

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designated, that adjudicates fewer than all the claims or the rights and liabilities of fewer than all the

parties . . . may be revised at any time before the entry of a judgment adjudicating all the claims and all

the parties’ rights and liabilities.” Fed. R. Civ. P. 54(b). The Ninth Circuit has affirmed this inherent

power of the Court, stating: “As long as a district court has jurisdiction over the case, then it possesses

the inherent procedural power to reconsider, rescind, or modify an interlocutory order for cause seen by

it to be sufficient.” City of Los Angeles, Harbor Div. v. Santa Monica Baykeeper, 254 F.3d 882, 885

(9th Cir. 2001) (emphasis in original) (quoting Melancon v. Texaco, Inc., 659 F.2d 551, 553 (5th Cir.

1981)); see also De La O v. Arnold-Williams, Nos. CV-04-0192-EFS, CV-05-0280-EFS, 2008 WL

4192033, at *1 (E.D. Wash. Aug. 27, 2008) (quoting John Simmons Co. v. Brier Bros. Co., 258 U.S. 82

(1922) (“A court has complete power over interlocutory orders made therein and has authority to revise

them when it is ‘consonant with equity’ to do so.”)). The commentary to Federal Rule of Civil

Procedure 60(b) reinforces that interlocutory judgments, such as the preliminary injunctions at issue in

this motion, “are left subject to the complete power of the court rendering them to afford such relief

from them as justice requires.” Fed. R. Civ. P. 60(b) advisory committee’s note to 1946 amendment.

       Although in a different context with more stringent requirements, the case law surrounding

whether a final judgement or order can be vacated by a Court is instructive in considering the Parties’

request for vacatur of the preliminary injunctions. When a District Court is asked to vacate its own final

judgment or order, extraordinary or exceptional circumstances need not be found. Am. Games, Inc. v.

Trade Prods., Inc., 142 F.3d 1164, 1169-70 (9th Cir. 1998). Instead, the court must balance the equities,

considering factors such as “the consequences and attendant hardships of dismissal or refusal to dismiss,

and the competing values of finality of judgment and right to relitigation of unreviewed disputes.” Id. at

1168 (quotations omitted); see also Nat’l Union Fire Ins. Co. v. Seafirst Corp., 891 F.2d 762, 769 (9th

Cir. 1989).

       Additionally, the policy of encouraging settlements is favored by the courts. Nat’l Union Fire

Ins. Co. 891 F.2d at 768 (citing Ahern v. Cent. Pac. Freight Lines, 846 F.2d 47, 48 (9th Cir. 1988)).

When a settlement between the parties is conditioned upon the district court’s grant of vacatur, this

factor should be weighed and considered in the balancing of the equities. See Cotton ex rel. McClure v.

City of Eureka, Cal., No. C 08-4386 SBA, 2012 WL 6052519, at *2 (N.D. Cal. Dec. 5, 2012)

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(considering the conditional nature of the settlement as weighing in favor of vacatur).

       B.      The Equities Support the Parties’ Joint Request for Vacatur

       As part of the terms of their settlement agreement, the Parties have agreed to move this Court to

vacate the preliminary injunction decisions of June 9, 2020 and December 3, 2020 (ECF Nos. 357 &

867). Equitable considerations present here support this joint request for vacatur, particularly because

the Parties have agreed to condition settlement on vacatur of the preliminary injunction decisions. The

consequences and hardships of the Court’s refusal to vacate would be substantial, and the denial of the

joint motion would lead to more litigation between the Parties in an already protracted case.
       Specifically, both sides seek to avoid the substantial hardships imposed by lengthy, costly, and

uncertain appeals, as well as continued litigation in the District Court. Plaintiffs and the provisionally

certified class members desire certainty in the treatment of those released under this Court’s bail orders

and those who remain detained. The Parties have therefore agreed that if the Court issues the requested

order, then Defendants will provide additional relief that Plaintiffs might not otherwise be able to obtain

from the Court in this litigation. If settlement is not achieved because of denial of the motion to vacate

and appeals are instead pursued, neither party is guaranteed success on appeal or satisfaction of their

claims. Moreover, it will be a considerable length of time before the second pending appeal would be

resolved and the remaining litigation in district court completed. See Cotton ex rel. McClure, 2012 WL

6052519, at *2 (considering expeditious resolution on favorable terms that brought closure to a case as

warranting vacatur as a condition of settlement).

       The judicial and public policy interests in finality of judgment would not be undermined by this

Court’s grant of the Parties’ motion for vacatur because the Parties are seeking vacatur of preliminary

injunctions, which necessarily are not intended to be a final adjudication of the Parties’ claims and

defenses. See Univ. of Texas v. Camenisch, 451 U.S. 390, 395 (1981) (“[I]t is generally inappropriate

for a federal court at the preliminary-injunction stage to give a final judgment on the merits.”).

Additionally, vacatur is appropriate because the Court’s preliminary injunctions are largely based on the

specific and individualized facts surrounding the unique circumstances presented by the COVID-19

pandemic. See Bedrock Fin., Inc. v. United States, No. 1:10-CV-01055 MJS HC, 2015 WL 1989106, at

*3 (E.D. Cal. Apr. 30, 2015) (noting that the “fact-specific nature of the orders under consideration”
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counseled in favor of vacatur). There is also little risk of re-litigation by the Parties of the dispute at

issue here due to the very specific factual circumstances and the proposed manner of resolution in the

settlement. Thus, the vacatur of the Court’s preliminary injunctions will not prejudice the general

public. See Camenisch, 451 U.S. at 395.

        Finally, the public policy interest of encouraging settlement supports the Parties’ joint request for

vacatur. Unlike other cases, where settlement had already been achieved prior to the parties bringing a

motion to vacate, here, the Parties’ settlement is conditioned on the Court first vacating the preliminary

injunctions. See, e.g., Nat’l Union Fire Ins. Co., 891 F.2d at 768. Thus, the issue is “whether to vacate

to make the case moot.” Id. District courts in this circuit have often granted parties’ joint motions to

vacate non-final orders as part of the settlement approval process. See, e.g., U.S. Gypsum Co. v. Pac.

Award Metals, Inc., No. C 04-04941 JSW, 2006 WL 1825705, at *1 (N.D. Cal. July 3, 2006) (noting

agreement to vacate “was a significant factor in successfully resolving this litigation”); Persistence

Software, Inc. v. Object People, Inc., 200 F.R.D. 626, 627 (N.D. Cal. 2001) (noting defendants’

“statement of non-opposition” and parties’ complete settlement in vacating summary judgment order);

Gemini Ins. Co. v. N. Am. Capacity Ins. Co., No. 3:14–cv–00121–LRH–WGC, 2015 WL 3891423, at

*2–3 (D. Nev. June 18, 2015) (vacating partial summary judgment order and order denying motion for

reconsideration because (1) all parties jointly so stipulated, (2) no former parties to action would be

adversely affected, and (3) “most importantly, the benefits of settlement outweigh costs of continuing

the litigation, both in terms of litigation costs to the Parties as well as use of this Court’s judicial

resources.”); Jaynes Corp. v. Am. Safety Indem. Co., 2:10–cv–00764–MMD–GWF, 2014 WL 11115424,

at *2 (D. Nev. Dec. 2, 2014) (striking and vacating order on cross-motions for summary judgment when

both parties so stipulated, there was no suggestion of former parties being adversely affected, and

judicial resources would be conserved). The Parties respectfully request the Court’s assistance in

bringing a final and concrete resolution to this case, and one which all Parties find to be full, fair and

satisfactory.

IV.     CONCLUSION

        For the foregoing reasons, the Parties respectfully request that the Court vacate its preliminary

injunction orders of June 9, 2020 and December 3, 2020 (ECF Nos. 357 & 867) to effectuate the
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contingency of the Parties’ settlement. The parties respectfully request that the Court decide this motion

in conjunction with the accompanying motion for preliminary approval of the class settlement but also

make clear that it will only issue the requested vacatur order if and when the Court issues its final

approval of the settlement.



DATED: January 27, 2022                               Respectfully submitted,

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